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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10
        ANN MAYHALL, on behalf of her Minor                  CASE NO. 2:21-cv-01473-TL
11      Child, D.M., individually and on behalf of
        all others similarly situated,                       ORDER OF REFERENCE
12
                               Plaintiff,
13              v.
14      AMAZON WEB SERVICES, INC. and
        AMAZON.COM, INC.,
15
                               Defendant.
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            This action is assigned to the Honorable Tana Lin, United States District Judge. All
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     future documents filed in this case must bear the cause number 2:21-cv-01473-TL-MLP. The
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     Court has reviewed the files and records herein and determined that certain pretrial matters are
21
     appropriate to refer to a Magistrate Judge as described below.
22          Pursuant to 28 U.S.C. § 636(b)(1)(A) and Local Magistrate Judge Rule (“MJR”) 3(a), the
23   Court hereby refers to Magistrate Judge Michelle L. Peterson all non-dispositive pretrial matters,

24   other than those matters excluded by 28 U.S.C. § 636(b)(1)(A). Federal Rule of Civil Procedure


     ORDER OF REFERENCE - 1
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     72(a) governs any objections to Magistrate Judge Peterson’s rulings concerning any non-
 2   dispositive motions. See also MJR 3(b).
 3          Pursuant to 28 U.S.C. § 636(b)(1)(B) and (C) and Local Magistrate Judge Rule 4, the

 4   Court also hereby refers to Magistrate Judge Peterson for preparation of a report and

     recommendation the pending motion to dismiss (Dkt No. 18). Federal Rule of Civil Procedure
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     72(b) governs any further proceedings in this Court after Magistrate Judge Peterson files a report
 6
     and recommendation. See also MJR 4(c).
 7
            Accordingly, the Court ORDERS that the above-entitled action be referred to Magistrate
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     Judge Peterson for the specific purposes and types of motions described herein. The Court
 9   further DIRECTS and EMPOWERS Magistrate Judge Peterson to conduct hearings and make further

10   necessary orders consistent with 28 U.S.C. § 636, the local rules, and this Order.

11
            Dated this 8th day of April 2022.
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13
                                                          A
14                                                        Tana Lin
                                                          United States District Judge
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     ORDER OF REFERENCE - 2
